Case 3:14-cv-00258-JAG Document 204 Filed 05/25/18 Page 1 of 1 PagelD# 4898

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
JAMES HAYES, et al.,
Plaintiffs,
Vv. : Civil Action No, 3:14-cv-258 (JAG)
[Consolidated with 3:16-cv-311]
DELBERT SERVICES CORP., ef al,

Defendants.

ORDER GRANTING CONSENT MOTION
FOR APPROVAL OF CY PRES DISTRIBUTION

Plaintiffs, James Hayes, Debera Grant, Herbert White, Leslie Grainger, and Donald Hill,
individually and on behalf of all other similarly situated individuals, with the consent of
Defendants, Delbert Services Corporation (“Delbert”), John Paul Reddam, and CashCall, Inc.
(“CashCall” or collectively, “Defendants”), having moved for approval of Cy Pres Distribution
pursuant to Section 5.3.d. of the Settlement Agreement (ECF No. 185-1), and having considered
the Motion,

It is hereby ORDERED that the $25,450.36 remaining in the class action Fund shall be
distributed and paid to the Virginia Poverty Law Center. The funds hereby distributed to the
Virginia Poverty Law Center shall be used exclusively for the Virginia Poverty Law Center’s
efforts to assist Virginia consumers and expressly do not constitute and shall not constitute

payment of any attorneys’ fees incurred by Plaintiffs' counsel in this matter.

A MK
DONE AND ORDERED this 21 day of 4 , 2018.

Is/
John A. Gibney, J re

John A. Gibney, Jr.
United States District Judge

      
